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 6   Attorney for Defendant Christine Gagnon

 7
                                   UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                   ***
10
                                                     )
11   UNITED STATES OF AMERICA                        )
                                                     )
12                   Plaintiff,                      )
             vs.                                     )
13                                                   )
                                                     )     CASE NO.: 2:13-CR-00355
14   CHRISTINE GAGNON. et al.,
                                                     )
                                                     )
15                   Defendants.                     )        STIPULATION TO CONTINUE
                                                     )          SENTENCING HEARING
16                                                   )
                                                     )                (Eighth Request)
17
                                                     )
18
19          IT IS HEREBY STIPULATED AND AGREED, by and between Steven W. Myhre,

20   Acting United States Attorney, by and through Daniel J. Cowhig, Assistant United States
21   Attorney, counsel for the United States of America, and Phil Brown, Esq., counsel for
22
     Defendant CHRISTINE GAGNON, that the sentencing hearing scheduled for April 13, 2017 at
23
     9:00 a.m., be continued to a date beyond August 30, 2017, to be determined by the
24
25   convenience of the Court.

26          This Stipulation is entered into for the following reasons:
27          1)     Defendant Christine Gagnon’s testimony, cooperation and its usefulness cannot
28
                      be evaluated by the United States Attorney until the conclusion of the
                                                     -1-
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 1                   sentencing of lead defendant Gregory Villegas, which is scheduled for June
 2                   30, 2017;
 3
           2)     The defendant is out of custody and agrees to the continuance of the sentencing
 4
                     hearing;
 5
 6         3)     Additionally, denial of this request for continuance could result in a miscarriage

 7                   of justice;
 8         4)     This is the eighth request for a continuance of the sentencing hearing;
 9
           5)     It is agreed that this request to continue is sought in good faith and not for the
10
                     purposes of delay.
11
12         DATED this 21st day of March, 2017.

13
14                                                        STEVEN W. MYHRE
                                                          Acting United States Attorney
15
16
     /s/Philip H. Brown                                   ____/s/ Daniel Cowhig________
17   PHILIP H. BROWN, ESQ.                                DANIEL COWHIG
     200 Hoover Ave, Suite #130                           Assistant United States Attorney
18   Las Vegas, Nevada 89101
19   Attorney for the Defendant
     Christine Gagnon
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 6
 7                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 8
                                                      ***
 9
                                                       )
10   UNITED STATES OF AMERICA                          )
                                                       )
11                      Plaintiff,                     ) CASE NO.: 2:13-CR-00355
             vs.                                       )
12                                                     )
     CHRISTINE GAGNON, et. al.,                        ) FINDINGS OF FACT, CONCLUSIONS
13                                                     ) OF LAW AND ORDER
                                                       )
14                      Defendants.                    )
                                                       )
15                                                     )
                                                       )
16
                                             FINDINGS OF FACT
17
            Based upon the pending stipulation of counsel, and good cause appearing therefore, the
18
     Court hereby finds:
19
            1. Christine Gagnon’s sentencing is currently set for April 13, 2017;
20
21          2. Defendant Christine Gagnon’s testimony, cooperation and its usefulness cannot be

22                 evaluated by the United States Attorney until the conclusion of the sentencing of
23
                   lead defendant Gregory Villegas, which is currently scheduled for June 30, 2017;
24
            3. The defendant is out of custody and agrees to the continuance of the sentencing
25
26                 hearing;

27          4. Additionally, denial of this request for continuance would likely result in a
28                 miscarriage of justice;

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        Case 2:13-cr-00355-GMN-CWH                Document 302        Filed 03/23/17     Page 4 of 4




 1          5. This is the eighth request for a continuance of the sentencing hearing;
 2          6. It is agreed that this request to continue is sought in good faith and not for the
 3
                  purposes of delay.
 4
            7. All parties being in agreement and the best interest of justice being served:
 5
                                         CONCLUSIONS OF LAW
 6
            Based upon the fact that Defendant Christine Gagnon’s testimony, her cooperation and its
 7
     usefulness cannot be evaluated by the United States Attorney until the sentencing of the lead
 8
     defendant Gregory Villegas which is scheduled for June 30, 2017, and based upon the fact that
 9
     counsel to the parties do not object to the continuance, and based on the fact that the denial of
10
     this request for continuance would likely result in a miscarriage of justice, the Court hereby
11
     concludes:
12
            1. The ends of justice are served by granting said continuance since the failure to grant
13
                  said continuance would likely result in a miscarriage of justice.
14
                                                   ORDER
15
            IT IS THEREFORE ORDERED that the sentencing currently scheduled for April
16
     13, 2017 at 9:00 a.m., be vacated and continued to September 15, 2017, at the hour of 9:00
17
     a.m. in Courtroom 7C.
18
19
                               23
            DATED this the ____ day of March, 2017.
20
21
22
23                                                  ________________________________________
                                                    UNITED STATES DISTRICT JUDGE
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26
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